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                       IN TIIE DISTRICT COURT OF MUSKOGEE COT]NTY
                                    STATE OF OKLAIIOMA

        1. SHN{LEY MAXEY
                                                          )
                                                          )
                                     Plaintitr            )
                                                          )
 vs.
                                                          )
       l. MUSIKOGEE COUNTY COMMLTNITY
                                                          )   case   No:   tr-   t3   -   3lr
                                                          )
          ACTIONI FOUNDATION, INC., and
                                                          )
       2. JAMES I\ZZELL
                                                          )
                                                          )
                                     Defendants.          )
                                                                                                           t\t
                                                                                                  'fat.)   e
                                                                                                           _
                                                                                                           (4'
                                                                                                                        !,rr
                                                                                                                        -;
                                                   PETITION                                 U*F6
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                                                                                                                      *-{cf
                                                                                                                           irr
            Shirhy Iv1axey, for her petition against the Muskogee county     community                                --:G'rr
                                                                                                           S
                                                                                                                      i-l:fx
Foundation, .[nc., and James Ezzelraleges and states as follows:                            fi':     T                -- ut'.F
                                                                                            rn l,'".
                                                                                            ff*; -<,r                   =i;;F
                                 PARTIES, JURISDICTION, AND VENT]E
                                                                                            !'-
                                                                                                  +
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                                                                                                           r\)
                                                                                                           -J
                                                                                                                        fi):='
                                                                                                                        f..t r


       l.   DeferrdanLt Muskogee County     Community Action Foundation, Inc. (,.MCCAF"), also

known as Muskogee County Community Action Parhrership ("MCCAI>"), is an Oklahoma
                                                                                 not-
for-profit corporation in Muskogee, Oklahoma. MCCAF's stated mission is ..To plan, conduct

and administr:r a community action program in accordance with the purpose and provisions
                                                                                                           of
the Community Slervices Block Grant Act of 1981, as amended." The acronyms MCCAF
                                                                                 and

MCCAP ma1'be used interchangeably within the instant action, but all refer to this defendant.

       2-   Defen'dant James Ezzell is a resident of Tulsa County.   At all times relevant hereto.
Ezzell was ennplc,yed by MCCAF in Muskogee County.

    3.      PlaintiffSihirley Marey is a resident of Muskogee County. Maxey,      a black female who

has aged gracefrrlly           longer than 40 years, was employed by MCCAP in Muskogee County
                        flor

during the times clis{ussed in this petition.




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          4' Ezzell was Ma:rey's supervisor at MccAP.            \l&ile   actingin this supervisory role, Ezzell
   committed nuxterous tortious acts
                                     against Maxey, all of which took place
                                                                            at MccAp.
          5'
          At all tirnes mentioned herein, MCCAF
                                                  was an employer within the meaning of
                                                                                        Title vII
  of the civil Rights Act of 1964 (*cifl
                                          Rights Act,,), Title 42u.s.c. g            2000e_2(a), rhe Age
  Discrimination in Employment Act ("ADEA"),
                                              Title 29 u,s.c. g 63r(a), and as the term is
  defined by the Equal Employment opportunity
                                              commission (. EEoc,).
         6' venue is proper in Muskogee county. Substantial portions
                                                                                 of the events giving rise to
  the plaintifPs causes of action as claimed
                                             herein occurred in Muskogee             county. This court     has
 jurisdiction over the subject matter
                                      of this lawsuit and the two defendants named
                                                                                   herein-
      7   '    The plainrtiffhas been generally damagsd
                                                        in an amount within the jurisdictional limits
                                                                                                             of
 the Court.

     8' Thoulgh tjhe factual background and causes of action are laid out
                                                                                     separately, this petition
 is intended      t.   be read as a whole, each segment incorporating
                                                                      all others.

                                          FACTUAL ALLEGATIONS

     9' while'Maxey           was employed with      MccAP,    she advanced to   aposition as a site manager
 over the Douglasr; Center, where they provided
                                                a large number of meals for those in
                                                                                     need.
     l0'Ezzell wal Maxey's supervisor.             Ma:<ey's duties required her to report to
                                                                                             and work
directly vnthlfzze>ll on a regular basis.

    ll    ' Ezzell made     a regular practice   of acting with prejudice regarding gender, age
                                                                                                and race
and other issur--s.

    12' rn october        of 2}ll,Ezzelrcame up behind       Mar<ey and thrust his hips into her rear
                                                                                                      end   in
a sexual manner,         twice' on the second time, being certain that there was
                                                                                 no mistake or
inadvertence irtEzzerl's actions, Maxey
                                        expressed her exheme displeasur e of Ezzell,s
                                                                                      sexual




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  gesture' Another employee, a
                               Christine Henry, witnessed the pelvic grinding
                                                                              event and was
  willing to discuLss it with management- Shortly thereafter,
                                                              Ms. Henry was transferred to a
  different site.

      13' In about the sarne time period
                                         ,Ez-zellheld a site manager meeting, but excluded Ma:<ey
 from the meetin,g while not excluding similarly
                                                 situated non-black female managers.

      l4'Ezze>ll regularly complained in Ma<ey's presence
                                                          about the fact that        MccAF employed
 black peopft:, old people, and "fat people." He told
                                                      other employees that there are three kinds        of
 people not trr hir:e;    "l)   fat people, because they are too slow, 2) oldpeople,
                                                                                     because they are too

 slow, and 3) black people, because they cause too many
                                                        probrems.,,

     15' MCCAF paid the black employees at Marey's
                                                   site less than similarly situated non-

 minority employees. The majority of the employees at the
                                                          site Marey managed were black, but

 had long experiernce and understanding of the programs purpose
                                                                and design. often, MCCAF

would have its new employees frain at Marey's center. The
                                                          new employees, including those

who were younger and white, would then get transferred to
                                                          other sites and often be paid more

than the expmienced staff at Maxey's center.

     16'   In eafly 2012' Maxey complained to MCCAF director Bree Long
                                                                       about the pay

difference to minLority employees. MCCAF's immediate reaction
                                                              to Maxey,s complaints was
anger, but soon thereafter Long agreed that MCCAF would
                                                        increase the pay             ofthe employees at
the site Marery managed. This pay rate increase never actually
                                                               happened, but was only offered to

appease Max,ey temporarily.

    l7'    Shortly thereafter, in April of 2}l2,Ezzellinsisted that Maxey
                                                                          fire two black male
employees     buLt   gave no reason other than that they were black.
                                                                     Marey refused to fue them and
confronted Ez'zell about her belief that he only wished to fire
                                                                them because they were in bi-racial




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 relationships with non-black women. Ezzelldid not
                                                   deny Maxey's allegations, but continued

 insisting thiil   stLe   fire the black men. Maxey continued to protest, explaining that these
                                                                                                particular
 employees were among her most useful and that there
                                                     was no legitimate reason to fire them.

 Ezzslrthen toldLMaxey that if she would not fire the men,
                                                           he would "bring down the pressure,,

 on her.

     18'   At about the same time, Maxey was approached by a member of the Eastern
                                                                                   oklarroma
 Developmernt District, which directed the funding for MCCAP's prograrns.
                                                                          The EEOD

representative vranted to inquire of Maxey aboqt several
                                                         complaints of which he became aware

regarding N'k- E'zzell and MCCAF. Long, the MCCAF director, then issued
                                                                        a statement telling

employees not to talk to EEOD representatives.

    19. Maxey regularly complained internally of the         teatnent to which     she and her    fellow
employees rvere subject. However, she had avoided            filing   a formal complaint   for fear that
MCCAP wo,uld retaliate against her.

    20.hthe first few days of May, 2012, after enduring many oflenses, at least three aggrieved

MCCAF employees, Maxey among them, filed internal grievances at MCCAF.

    21. Based ulron the grievances filed by Maxey and other MCCAP employees Ezzell
                                                                                   was

suspended    ftlr five days without pay and allegedly "removed" from his position           as deputy

director of I\{CCIAP on or about June 18, 2012. However, Ezzellremained on staff with

MCCAP at his same compensation rate and continued to assert supervisory roles over

employees, inclurding Maxey.

   22- After Maxey's fonnal grievance, MCCAP reduced her pay, changed her title and

removed frotn her certain responsibilities, including specifically a program that Marey had

helped MCCAF start. The position was given to a young white female.




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      23'Dan to the gdevances against Ezzeltand local government pressures
                                                                           MccAF resigned
 from the contraot for Senior Nutrition Services effective
                                                           August 3r,2012.

     COUN]I I: MCCAF'S IMLICTION OF MENTAL AI\D
                                                EMOTIONAL DISTRESS
     }4'MCI:'AF owed the plaintiffa duty of    care during the   plaintiffs employment period with
 the MCCAF, inr;luding the duty to avoid inflicting
                                                    upon her emotional distress by the manner in

 which the IV[CCAF operated its business and in the manner
                                                           of continuing or discontinuing the
 plaintiff   s ernployment.


     25' Throughout her employment with MCCAF, the plaintiffwas
                                                                confronted with the

 MCCAF's irnpnrper business practices, including    a   violation of statutes.

    26' As a resuflt of the MCCAF's breach of its duty of care to
                                                                  the plaintifq the plaintiff

suffered irreparable injuries, including but not limited to loss
                                                                 ofpay, benefits and other economic
losses, emotional pain and suffering, mental anguish, humiliation,
                                                                   embarrassment, personal

indignity anclothrer intangible injuries, for all of which she should
                                                                      be compensated.

    27' MCCAF's actions were reckless, entitling the plaintiffto punitive
                                                                          darnages.

                   couNT rI: MCCAF'S vIoLATroN oF puBLIc                    polrcy
    28' MCCAF wrongfully acted adversely to the plaintiffs employment
                                                                      in violation of various
public policies of the State of Oklahoma.

    29. Among ttLe other things as identified elsewhere in this Petition,MCCAF
                                                                               reduced the

plaintifPs compensation in retaliation for her complaints, formal
                                                                  and otherwise, about the

unlawful and discriminatory treatment she and others experienced at
                                                                    MCCAF. Taking adverse
employment actions in retaliation for reporting sexual harassmen! gender
                                                                         discrimination. and
workplace violenroe violates a clear mandate of oklahoma public policy.




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     30. By the alloresaid acts and omissions of MCCAF, the plaintiffhas
                                                                         been      direct$ and
 legally caused to sufFer actual damagg5 including, but not limited to, loss of
                                                                                earnings and future

 earning capalcity, attorneys' fees, costs of suit and other pecuniary loss not presently
                                                                                          ascertained,
                   .be
in an amount to          proved at hial-

    31. As a frrtlher direct and legal result of the acts and conduct of MCCAF, the    plaintiffhas
been caused to and did suffer and continues to suffer severe emotional and mental
                                                                                  distress.

anguish, hunriliation, emba:rassment, fright, shock, and anxiety.

    32. MCCAF, by engaging in the aforementioned acts and in authorizing and ratifuing such

acts, engaged in   willful, malicious, intentional, oppressive and despicable conduct, and acted

with willful and,conscious disregard of the rights and welfare of the plaintiff, thereby justiffing

the award of punitive and exemplary darnages in an amount to be determined at       tial.
                COUNT         III: MCCAF'S BREACH      OF IMPLIED CONTRACT

    33- The pilaintiffand MCCAF entered into an implied unilateral contract whereby MCCAF,s

personnel mamual and other mandatory emplolment documents acted as offers for a unilateral

contract acceptedlby the plaintifPs action to continue working for MCCAF.

    34. MCCAF breached the contract by acting adversely regarding the plaintifPs employment

in contavention,of the implied unilateral contract the manner of operating MCCAF's business

and in the maurner of continuing or discontinuing the plaintitps employment.

    35. The plainrtiffhas performed all conditions precedent to recover under the contract and has

not excused   l{CCAI's      breach.

   36. As a result of MCCAF's breach of the implied unilateral contract, the plaintiffhas

sustained danrages including but not limited to the amount of lost earnings and emplolm.ent

benefits and the amount of damages for mental and emotional distess or anguish.




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                      COUNT TV: MCCAF'S GENDDR DISCRIMINATION

      37' MCcAF's actions described herein
                                           were intentional and demonstate differing

  employment stiandards for similarly
                                      situtuated male employees and the    plaintifl who is a female.
       38' The plaintiffwas performing herjob
                                              at a level that rules out the possibility
                                                                                        that she was
  fired for inadequate job performance.

      39' The actions of the employer and standards
                                                    as described herein were adverse to
                                                                                        the
  plaintiffs employment situation   and status. MCCAF's demotion of the     plaintiff and reduction in
 her pay was without suffrcient justification
                                              and grossly disproportiant to any perceived

 misconduct and was discriminatorily different
                                               than cponsequences suffered by her supervisor.

     40' Suctr adverse employment actions were
                                               in violation of the civil Rights Act.
     41' As a result of MCCAF'S actions, the plaintiffhas
                                                          suffered irreparable injuries, including
 but not limited to loss of pay, benefits and
                                              other economic losses, emotional pain and
                                                                                        suffering,
 mental anguish, htrmiliation, embarassment,
                                             personal indignity and other intangible injuries
                                                                                              for
 all of which she should be compensated.

    couNT v: MCCAx"s EI\IDORSEMENT oF sExuAL
                                             HARASSMENT
     42'The hLarassment to which the plaintiffwas
                                                  subjected in her employment as described

herein was rurwe.lcome' sexual in nafure and
                                             motivated, at least in part, by her gender.

    43. The harassment affected a term, conditio4
                                                  or privilege of her employment.

    44' MCC'AF lknew or should have known of
                                             the harassment and failed to take prompt

remedial action.

    45. such harassment was in violation of the
                                                  civil   Rights Act.
   46' As a r'esult of MCCAF's actions, the plaintiffhas
                                                         suffered irreparable injr:ries, including
but not limiterl to loss ofpay, benefits and other
                                                   economic losses, emotional pain and suffering,




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 mental anguish' humiliation, embanassmen! penonal
                                                   indignity and other intangible injuries for

 all of which she should be compensated.

                         COUNT VI: MCCAF'S AGE DISCRIMINATION

     47' MCCAF's actions described herein were intentional and
                                                               demonstrate differing

 employrrent standards for similarly situtuated employees and the plaintitr,
                                                                             who is in the class       of
 people protected by the ADEA.

    48. The harr:rssment to which the plaintiffwas subjected in her employment
                                                                               as described

 herein was unwe,lcome and motivated, at least in part, by her age.

    49. The harassment affected a term, condition, or privilege of her employment.

    50. MCCIAF knew or should have known of the harassment and failed
                                                                      to take prompt

remedial action. Such harassment was in violation of the ADEA.

    5l ' As a rresult of MCCAF's actions, the plaintiffhas suffered irreparable injuries, including

but not limircd to loss of pay, benefits and other economic losses, emotional pain and
                                                                                       suffering,

mental anguish, humiliation, embarrassment, personal indignity and other intangible
                                                                                    injwies for
all of which   sihe sihould be compensated.


                          COUNT VII: VIOLATION OF 42 U.S.C. $ t98t

    52-1\e     defenLdants' actions were discriminatory as to the   plaintitr   The defendants unfairlv

treated and acted adversley to the plaintiffs, at least in patt because of her race.

    53- The d'efendants' actions as described herein interfered with the plaintif3s
                                                                                    rights in the

making' performemce, modification, and termination of contacts, and the enjoyment of
                                                                                     all
benefits, privileges, terms, and condition of her contracfual relationship.

   54. As a r'esult of defendants' actions, the   plaintiffhas suffered irreparable injuries, including

but not limiterc to loss ofpay, benefits and other economic losses, emotional pain
                                                                                   and suflering,




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  mental anggisl; humiliation, embartassmen!
                                             personal indigmty and other intangible
                                                                                    injuries for
  all ofwhich she should be compensated.

      55' Tk: delbndants have engaged in intentional
                                                     discrimination and have done so with malice

 or reckless indifference to the federally protected
                                                     rights of the plaintiff.

                   couNT vrrr: RETALTATTON r,oR EXERCTSE oF RrcHTs
     56' The plaintiffwas engaged in activity protected
                                                        by the Civil Rights Act and the ADEA

 when she u'as complaining, either formally or otherwise,
                                                          about discriminatory treatnent and

 harassment in tlhe workplace. Likewise, as also
                                                 described herein, the      plaintiffs activities were
 protected when complaing about the treatnent
                                              to which she and other employees were subject.

     57' The deft:ndants knew of the plaintifPs exercise of
                                                            her civil rights and, thereafter, the took

 an employnrent action adverse to the    plaintiffas described herein.

    58' The defendants took adverse employment actions against
                                                               the plaintiffin response to her

excersice of her rights as described herein.

    59. sucliL retiiliation was in violation of the   civil   Rights Act.

    60' As a result of the defendants' actions, the plaintiffhas suffered
                                                                          irreparable injuries,

including but not limited to loss of pay, benefits and other economic
                                                                      losses, emotional pain and

suffering, mr:ntal anguish, humiliation, embarrassment, personal
                                                                 indignity and other intangible
injuries for all of which she ihould be compensated.

                             COT]NT    Vz EZZELL'S IYEGLIGENCE
    6l'   Due 10 E:zzell's actions Maxey has suffered emotional distress, physical
                                                                                   illness, and
physical harrn.

   62' As Maxe;y's employment supervisor and as an individu al&zzellhad
                                                                        a duty not to harm or

injwe Cotner.




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     63'Ezz<>ll f;riled to exercise ordinary care to avoid injuty to Maxey's person
                                                                                    and negligently

caused injury to Maxey through his actions.

     64-Ezze>ll's actions committed against Mar<ey were negligent and were the direct cause
                                                                                                     of
Maxey's injury.

                tcoluNT xzE,ZZF,LL's DIFLICTION oF EMorroNAL DISTRESS

    65. Over: the course of four yearsEzzell continuously and systematically inflicted
                                                                                       severe

emotional diistress upon the plaintiffthrough his intentional and deliberate actions as well
                                                                                             as

through his negligence.

    66.   All   c,f Ezzell's actions committed against the    plaintiffoccurred in what should have been

a professionral olFrce setting   for   a   non-profit organization. Instead Ezzellcreated a hostile and

abusive wor.k environment in which the           plaintiffwas in constant fear of termination. unwanted

sexual advances, assault and battery, and racial discrimination.

    67. Somr: of Ezzell's actions (e.g. touching his pelvic region to Marey's back side and

regularly makinlS racial slurs and other cruel remarks about Maxey's co-workers), were extreme

and outrageous zmd went beyond all possible bounds of decency. These actions of Ezzell were

atrocious an<l utterly intolerable in a civilized society. Those of Ezzell's actions and conduct

towards Maxey in what should have been a "professional" office setting intentionally and

recklessly caused severe emotional distress to the plaintiffbeyond that which a reasonable

person could be ,expected to endure.

    68. The plainLtiffsuffered severe emotional distress due to the actions of the Ezzellincluding

physical illness amd harm, mental anguish, worry, anger, and fright.

   69. As Maxe,y's supervisor and as an individualBzzellhad a duty to protect the plaintifffrom

injury and to not cause harrr or injury to the plaintitr




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       70' Whren not acting to intentionally cause Maxey
                                                         harm, Ezzellfailed to exercise ordinary

 care to avoid     iniu.y to Maxey and negligently caused injury in the form
                                                                             of emotional distess to
 Ma,rey through his actions.

       7t'Ezzrtll's negligence regarding Maxey's emotional dishess was a direct
                                                                                cause of Maxey,s

 injuries.

       72' Due to rizzell's negligence Maxey has suffered emotional distress,
                                                                              mental anguish, and
 physical illness.

                                            PRAYER T'OR RELIEF

             WIilEREIFORE, rhe plaintiffprays that this Court award:

       A'   JudgmerLt against   MCCAF for actual and punitive damages for the emotional distress it

caused the      plaintiffi

       B'   JudgmenLt against   MCCAF for actual and punitive darnages for its adverse employment

actions in co,ntravention of Oklahoma's public policy;

    C- Judgment against MCCAF for actual and punitive            damages for the its breach of implied

contract;

    D. Judgnent        against the MCCAF for gender discrimination in violation of the        Civil Rights
Act;

    E. Judgnent        against the MCCAF for allowing and/or endorsing the       plaintiffs   sexual

harassment in violation of the        Civil Rights Act;

    F.      Judgrnentt against the   MCCAF for age discrimination in violation of the ADEA;

    G.      Judgrnent against the defendants for violation of the TitIe 42U.S.C.        l98l   and lggla;
                                                                                 $g
   H.       Judgrnent against the defendants for retaliating against the   plaintiffin violation of the
Civil Rights,A.ct and/or the ADEA;




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    I'   Judgment against James Ezzellfor
                                          the neglige,nt physical harm he caused
                                                                                 the plaintitr;
    J' Judgment against James Ez'zellfor acfual andpunitive
                                                                  damages for the emotional dishess
he inflicted on the plaintiff, intentionally
                                             and negligenfly;

    K'   Judgment againstthe defendants forthe
                                               costs of litigation, including areasonable

att'otney's fee;

    L' Any and all otherrelief as this court deems appropriate
                                                                   according to equity, justice and
the evidence presented.


                                               Respectfully submitted,




                                                          L.   AIIen   OB
                                                      &
                                              l0l w. B
                                              Muskogee, Oklahoma 74401
                                              918.683.5291
                                              918.683.3397 tux




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